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PLAINTIFFS’ EXHIBIT B
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 1

 2                         United States District Court

 3                        Southern District of New York

 4

 5      CG3 Media, LLC and Corey         )
        Griffin,                         )
 6                                       )
            Plaintiffs,                  ) CASE NO.
 7                                       )1:21-cv-04607-MKV
              -vs-                       )
 8                                       )       VOLUME 1
        Belleau Technologies, LLC,       )
 9                                       ) PAGES 1 - 277
            Defendants.                  )
10                                       )
        ________________________________ )
11

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15                          DEPOSITION OF COREY GRIFFIN

16                            Thursday, August 4, 2022

17                            LOS ANGELES, CALIFORNIA

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25
           REPORTED BY:                   LINDSAY STOKER, CSR NO. 143731
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 1                         United States District Court

 2                        Southern District of New York

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 4      CG3 Media, LLC and Corey         )
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 5                                       )
            Plaintiffs,                  )
 6                                       ) CASE NO.
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 7                                       )
        Belleau Technologies, LLC,       )       VOLUME 1
 8                                       )
            Defendants.                  ) PAGES 1 - 277
 9                                       )
        ________________________________ )
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18           Deposition of Corey Griffin, taken at Ruttenberg IP

19         Law, 1801 Century Park East, Suite 1920, Los Angeles, CA

20         90067, commencing at 10:22 a.m. on Thursday,

21         August 4, 2022, before Lindsay Stoker, Certified

22         Shorthand Reporter No. 14373, in and for the State of

23         California.

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                                                                       2
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 1                  A P P E A R A N C E S

 2

 3         APPEARING ON BEHALF OF THE PLAINTIFF CG3 MEDIA,LLC AND
           COREY GRIFFIN:
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           APPEARANCES CONTINUED:
21

22         VIDEOGRAPHER:
           Kevin Crowley
23

24

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                                                                       3
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 1         Q.   No.     I -- I -- you said they're similar and I was

 2     just asking how.       What do you mean by they're similar in

 3     functionality?

 4         A.   They were -- they're similar in the sense that

 5     they were both teleprompters that work through the web

 6     browser.

 7         Q.   Any other similarities?

 8         A.   That one encompasses certain aspects, I would

 9     say.

10         Q.   What do you mean by that?

11         A.   I mean, the base functionality of it being a

12     teleprompter.

13         Q.   Okay.     Do you refer to teleprompt.me as a

14     predecessor to Speakflow?

15         A.   Generally.

16         Q.   Okay.     So it's fair to refer to it that way?

17         A.   I would say so.

18         Q.   When did you first have the idea to code a online

19     teleprompter product?

20         A.   I don't recall the exact date.

21         Q.   Do you have any sense of timing?

22         A.   Yes.

23         Q.   What is that?

24         A.   I would say around late 2018, early 2019.

25         Q.   When was the first launch of teleprompt.me?
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                                                                              82


 1     in web browsers, so I used that.

 2         Q.   What do you mean by accessibility software?

 3         A.   Web browsers have accessibility tools built into

 4     them that allow visually-impaired or disabled --

 5     otherwise disabled peoples to navigate the web using

 6     their voice or certain technology -- technologies,

 7     things like that.

 8         Q.   And you said built-in feature set.             You mean for

 9     web browsers?

10         A.   Yes.

11         Q.   Before you -- putting aside the question of the

12     PromptSmart patent, before you launched teleprompt.me,

13     did you do any sort of search for patents to see whether

14     it was patented?

15              MR. KEYHANI:      Objection.

16              THE WITNESS:      No.

17     BY MR. LAHAV:

18         Q.   When you tried PromptSmart in early 2019, why

19     didn't that satisfy the needs that you had?

20         A.   I don't recall.         I just remember that it didn't.

21         Q.   Were there any particular features that you

22     recall it missing?

23              MR. KEYHANI:      Objection; asked and answered.         You

24     can answer.

25              THE WITNESS:      I don't have anything to add.
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                                                                          83


 1     BY MR. LAHAV:

 2         Q.   Do you recall any other impressions you had when

 3     you first used it?

 4              MR. KEYHANI:      Objection.

 5              THE WITNESS:      No.    I just remember being

 6     generally dissatisfied with all of the options I have

 7     discuss -- discussed.

 8         Q.   Going back to the initial code for teleprompt.me,

 9     you said you're not sure if it still exists?

10         A.   The initial code?

11         Q.   Yeah.

12              MR. KEYHANI:      Objection; form.

13              THE WITNESS:      I don't recall.        I mean, it exists.

14     It's accessible through Wayback Machine, I'm fairly

15     certain.

16     BY MR. LAHAV:

17         Q.   I mean in your possession?

18         A.   I don't -- I couldn't say.

19         Q.   Did you search for it?

20         A.   I -- I believe so.

21         Q.   And you couldn't find it?

22         A.   I don't recall the results of that search.

23         Q.   Okay.    But it was coded on this current laptop

24     that you have; right?

25         A.   No.
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                                                                         119


 1     BY MR. LAHAV:

 2         Q.   Okay.    Do you ever call one of your work

 3     colleagues a bitch ass?

 4              MR. KEYHANI:      Objection.

 5              THE WITNESS:      Probably.

 6     BY MR. LAHAV:

 7         Q.   What would result if you ever call someone a

 8     bitch ass in an email at Apple?

 9         A.   What would --

10              MR. KEYHANI:      Objection.

11              THE WITNESS:      I can't speculate on that policy.

12     BY MR. LAHAV:

13         Q.   You don't know whether that would violate Apple's

14     corporate policies?

15         A.   I don't know.

16         Q.   Why did you name Speakflow Speakflow?

17         A.   I thought it was a nice name.           It was unique.   It

18     had good SEO.

19         Q.   SEO is search engine optimization?

20         A.   Yes.

21         Q.   Better than teleprompt.me?

22         A.   I couldn't speak to whether it's better.

23         Q.   Why did you decide to change the name?

24         A.   I don't recall at the moment.

25         Q.   Are you the only person who ever wrote code for
